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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                 Case No. 17-20818-CIV-GAYLES

  PDVSA US LITIGATION TRUST,

          Plaintiff,
  v.

  LUKOIL PAN AMERICAS LLC, et al.,

        Defendants.
  ____________________________________/

                                               ORDER

       THIS CAUSE comes before the Court on Plaintiff’s ore tenus motion for an order to preserve

  evidence. The Court having considered arguments of counsel at the March 14, 2018 hearing, it is

  ORDERED AND ADJUDGED as follows:

       1. Defendants Lukoil Pan Americas LLC; Lukoil Petroleum Ltd.; Colonial Oil Industries,

          Inc.; Colonial Group, Inc.; Glencore Ltd.; Glencore International A.G.; Glencore Energy

          UK Ltd.; Masefield A.G.; Trafigura A.G.; Trafigura Trading LLC; Trafigura Beheer

          B.V.; Maria Fernanda Rodriguez; Andrew Summers; Maximiliano Poveda; Jose Larocca;

          Luis Alvarez; Gustavo Gabaldon; Sergio De La Vega; Campo Elias Paez; Paul Rosado;

          EFG International A.G.; Blue Bank International N.V.; their officers, agents, servants and

          employees and any persons in active concert or participation with them shall retain all

          records, documents, communications or notes, either electronic or hard copy, relating to

              a. Petróleos de Venezuela S.A. (“PDVSA”);

              b. the Morillo Group Defendants’ (as defined in the Court’s Temporary Restraining

                  Order [ECF No. 9]) assets or finances; or

              c. any business operated by the Morillo Group Defendants
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         pending the entry of an order on Plaintiff’s Motion for a Preliminary Injunction.

     2. A hearing on Plaintiff’s Motion for a Preliminary Injunction shall be had in this Court at

         9:30 a.m. on April 4, 2018. The Court may revisit this Order at that time.

         DONE AND ORDERED in Chambers at Miami, Florida, this 16th day of March, 2018, at

  10:00 a.m.




                                               ________________________________
                                               DARRIN P. GAYLES
                                               UNITED STATES DISTRICT JUDGE




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